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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                        No. 1:15cr286 DAD-BAM
12                      Plaintiff,
13           v.                                        STIPULATION AND ORDER
14    HAITHAM EID HABASH,
15                      Defendants.
16

17          Plaintiff United States of America, by and through its counsel of record, and Defendant

18   Habash, by and through his counsel of record, hereby stipulate as follows:

19          1.     The government’s response to defendant’s suppression motion relating to the

20                 Crenshaw Boulevard search, Doc. 333, is currently due on November 19, 2018.

21          2.     The parties agree to reset the filing date for the government’s response to allow the

22                 parties to further plea negotiations and effect a potential resolution and,

23                 alternatively, to conduct further pretrial investigation. Accordingly, the

24                 government’s motion would be due on or before December 10 and the defendant’s

25                 reply, if any, would be due on or before December 17.

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     Case 1:15-cr-00286-DAD-BAM Document 382 Filed 11/13/18 Page 2 of 2


 1   IT IS SO STIPULATED.

 2   DATED:       November 13, 2018. Respectfully submitted,

 3                                       McGREGOR W. SCOTT
 4                                       United States Attorney

 5                                       /s/ Karen A. Escobar___________________
                                         KAREN A. ESCOBAR
 6                                       Assistant United States Attorney
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 8   DATED:       November 13, 2018.

 9                                       /s/ Shaun Khojayan
                                         SHAUN KHOJAYAN
10                                       Counsel for Haitham Eid Habash
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13                                       ORDER
14         Having reviewed the stipulation of the parties,
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     IT IS SO ORDERED.
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        Dated:   November 13, 2018
17                                                   UNITED STATES DISTRICT JUDGE
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